              Case 2:25-cv-00625-LK            Document 2    Filed 04/08/25     Page 1 of 2



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                                 UNITED STATES DISTRICT COURT
9                              WESTERN DISTRICT OF WASHINGTON
                                          AT SEATLE
10

11   LEO’S WELDING and FABRICATION, LLC,                    AT LAW AND IN ADMIRALTY
     a Washington limited liability company
12                                                          NO.
13                                Plaintiff,
                                                            CORPORATE DISCLOSURE
            v.
14
                                                            STATEMENT OF LEO’S WELDING
                                                            and FABRICATION, LLC
15   HANNAH, Official Number 1067457, her
     machinery, engines, equipment, cargo
16   appurtenances, in rem and SAYAK LOGISTICS,
     LLC, a Alaska limited liability company dba
17   NORTHLINE SEAFOODS in personam;

18                             Defendants.

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21
            Plaintiff Leo’s Welding and Fabrication, LLC hereby files its corporate disclosure
22
     statement under Fed. R. Civ. P.7.1 and states as follows:
23
            There is no parent corporation of Leo’s Welding and Fabrication, LLC and no publicly
24
     held corporation owns 10% or more of its stock.
25


      CORPORATE DISCLOSURE STATEMENT OF                                         ZUANICH LAW PLLC
                                                                                   U.S. Bank Center
      LEO’S WELDING and FABRICATION, LLC -1
                                                                              1420 5th Avenue, Suite 2200
      Case No.                                                                     Seattle, WA 98101
                                                                                    Ph: 206.829.8415
             Case 2:25-cv-00625-LK     Document 2      Filed 04/08/25     Page 2 of 2



1    DATED this ______ day of April 2025.
2                                            ZUANICH LAW, PLLC
3                                            By: /s/ Brian C. Zuanich
                                                /s/ Robert Zuanich
4
                                             Brian C. Zuanich, WSBA, #43877
5
                                             Robert Zuanich, WSBA, #9581
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                                             U.S. Bank Center
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7                                            Seattle, WA 98101
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8                                            Email: brian@zuanichlaw.com
                                                      rpz@zuanichlaw.com
9                                            Attorneys for Plaintiff

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     CORPORATE DISCLOSURE STATEMENT OF                                    ZUANICH LAW PLLC
                                                                             U.S. Bank Center
     LEO’S WELDING and FABRICATION, LLC -2
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